                        UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Mid−Atlantic Systems of CPA, Inc.,                          Chapter          7

                 Debtor 1
                                                            Case No.         1:20−bk−02175−HWV


Social Security No.:

Employer's Tax I.D. No.:
                             25−1838508


                                             FINAL DECREE

The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:
                                                   Leon P. Haller


is discharged as trustee of the estate of the above named debtor(s); and the chapter 7 case of the above named
debtor(s) is closed.

                                                           By the Court,




                                                           Henry W. Van Eck, Chief Bankruptcy Judge

                                                           Dated: July 12, 2023
fnldec (01/22)




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                          Final Decree Closing Case Page 1 of 1
